






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00153-CV






Gracelyn Faith Drake, Appellant



v.



Austin Surgical Hospital; Frosty D. R. Moore, M.D.; and Everett Brew Houston, M.D.,
Appellees





FROM THE DISTRICT COURT OF TRAVIS COUNTY, 353RD JUDICIAL DISTRICT


NO. D-1-GN-07-002706, HONORABLE ORLINDA NARANJO, JUDGE PRESIDING 







M E M O R A N D U M   O P I N I O N



	Appellant Gracelyn Faith Drake has filed a motion to dismiss her appeal.  See Tex.&nbsp;R.
App. P. 42.1(a)(1).  We grant the motion and dismiss the appeal.  See id.



					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Pemberton and Waldrop

Dismissed on Appellant's Motion

Filed:   May 28, 2008


